                             NUMBER 13-08-00346-CR

                             COURT OF APPEALS

                  THIRTEENTH DISTRICT OF TEXAS

                     CORPUS CHRISTI - EDINBURG


MARIO OCAMPO UREÑA,                                                           Appellant,

                                            v.

THE STATE OF TEXAS,                                                            Appellee.


 On appeal from the 103rd District Court of Cameron County, Texas.



                          MEMORANDUM OPINION

                    Before Justices Yañez, Garza, and Vela
                      Memorandum Opinion Per Curiam

       Appellant, Mario OCampo Ureña, attempts to appeal his conviction for aggravated

assault. The trial court has certified that this “is a plea-bargain case, and the defendant

has NO right of appeal.” See TEX . R. APP. P. 25.2(a)(2).

       On June 4, 2008, this Court notified appellant’s counsel of the trial court’s

certification and ordered counsel to: (1) review the record; (2) determine whether appellant
has a right to appeal; and (3) forward to this Court, by letter, counsel’s findings as to

whether appellant has a right to appeal, or, alternatively, advise this Court as to the

existence of any amended certification.

       On October 22, 2008, counsel filed a letter brief with this Court. Counsel’s response

does not establish that the certification currently on file with this Court is incorrect or that

appellant otherwise has a right to appeal.

       The Texas Rules of Appellate Procedure provide that an appeal must be dismissed

if the trial court’s certification does not show that the defendant has the right of appeal.

TEX . R. APP. P. 25.2(d); see TEX . R. APP. P. 37.1, 44.3, 44.4. Accordingly, this appeal is

DISMISSED. Any pending motions are denied as moot.

                                                           PER CURIAM


Do not publish. See TEX . R. APP. P. 47.2(b).

Memorandum Opinion delivered and filed
this the 22nd day of January, 2009.




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